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    'Il>.AO 24SB (CASD) (Rev. 12111) Judgment in a Criminal Case                                                                     FILED
               Sheet 1

                                                                                                                                            - ...
                                                                                                                                      1"11.' n   lI. ... n ,,,
                                                                                                                                                       " ' ....

                                              UNITED STATES DISTRICT COURT                                                  CLERK, U.S. DISTR~T COURT
                                                                                                                         SOUTHERN DISTRICT OF CALIFORNIA
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                       BY                                       DEPUTY

                    UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE
                                        v.                                        (For Offenses Committed On or After November 1, 1987)

              SEAN ROBERT LIVINGSTON PECK (] 8)                                    Case Number: IOCR2242 JM
                                                                                   Michael 1. Messina
                                                                                   Defendant's Attorney
    REGISTRATION NO. 20] 14298
    jgJ Correction of Sentence for Clerical Mistake (Fed. R. Cnm. P.36)
    THE DEFENDANT:
    jgJ pleaded guilty to count(s) FORTY-TWO AND FORTY-FIVE OF THE INDICTMENT.
    D was found gUilty on count(s}_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged gUilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
18 USC 1343                           WIRE FRAUD                                                                                               1




        The defendant is sentenced as provided in pages 2 through _.......:5::.....-_ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
  jgJ Count(s)_re_m_a_in_in....,g::.-____________________ is
                                                              ------------------------------------------
                                                                          D                    arejgJ dismissed on the motion ofthe United States.
  r8I Assessment: Count 42, $100.00, waived; Count 45, $100.00, waived.

  r8I Fine waived                                    \81 Forfeiture pursuant to order filed
                                                                                                 -------------
                                                                                                          12/] 5120 II         , included herein.
       IT IS ORDERED that the defendant shaH notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attomey ofany material change in the defendant's economic circumstances.

                                                                               May 21, 2012




                                                                                                                                                    IOCR2242 JM
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AD 245B (CASD){Rev, 12111) Judgment in a Criminal Case
            Sheet 2 -Imprisonment

                                                                                            Judgment - Page   2     of      5
 DEFENDANT: SEAN ROBERT LIVINGSTON PECK (18)
 CASE NUMBER: lOCR2242 JM
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
        COUNT 42: TWELVE (12) MONTHS AND ONE (l ) DAY;
        COUNT 45: TWELVE (12) MONTHS AND ONE (1) DAY, CONCURRENT WITH COUNT 42.


    D Sentence imposed pursuant to Title 8 USC Section 1326(b).
    D The court makes the following recommendations to the Bureau of Prisons:




    o The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Da.m.    Op.m.        on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     I8J The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          I8J before 1by 7/2/2012 or the court on 7/9/2012 9:00 AM before Judge Jeffrey T. Miller in Courtroom 16.
          D as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN
 I have executed this judgment as follows:

         Defendant delivered on      _____________________________ to

 at __________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                    By ________~~~~~~~~~~----------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                      lOCR2242JM
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AO 245B (CASD) (Rev. 121Il) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page ----l- of _......;5____
DEFENDANT: SEAN ROBERT LIVINGSTON PECK (18)                                                            a
CASE NUMBER: lOCRl141 JM
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shan be on supervised release for a term of:
THREE (3) YEARS AS TO EACH COUNT TO RUN CONCURRENTLY.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offillses committed 011 or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          ­

o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000 Pursuant to 18 USC sections 3563(a)(1) and 3583(d).
                                         L
        The defendant shall comply with tfie requirements of the Sex Offender Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted ofa qualifYing offense. (Check ifapplicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8). the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notifY the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to conflrm the
          defendant's compliance with such notification requirement.

                                                                                                                                           lOCRl141JM
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         AD 245B (CASD) (Rev. 12111 Judgment in a Criminal Case
                     Sheet 4 - Special Conditions
                                                                                                           Judgment-Page ----!- of _ _
                                                                                                                                     5 __
         DEFENDANT: SEAN ROBERT LMNGSTON PECK (18)                                                    a
         CASE NUMBER: lOCR2242 JM




                                                SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
      reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.
o     If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
      officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o     Not transport, harbor, or assist undocumented aliens.
o     Not associate with undocumented aliens or alien smugglers.
o     Not reenter the United States illegally.
o     Not enter the Republic of Mexico without written permission of the Court or probation officer.
181   Report all vehicles owned or opemted, or in which you have an interest, to the probation officer.
o     Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o     Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Notify the Collections Unit of the U.S. Attorney's Office and the U.S. Probation Office before the transfer of any interest in property owned
      directly or indirectly by the defendant.



o     Take no medication containing a controlled substance without valid medical prescription, and provide proof ofprescription to the probation
      officer, if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
~ Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
  probation officer.
o     Seek and maintain full time employment and/or schooling or a combination of both.
o     Resolve all outstanding warrants within               days.
o     Complete           hours of community service in a progmm approved by the probation officer within
o     Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Notify the Collections Unit ofthe U.S. Attorney's Office, and the U.S. Probation Office, of any interest In property obtained, directly or
      indirectly, including any interest obtained under any other name, or entity, including a trust, partnership or


181 Not accept or commence employment involving fiduciary responsibility without prior approval ofthe prpbation officer, and employment
      shall be subject to continuous review and assessment by the probation officer.




                                                                                                                                         lOCR2242JM
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AO 245S     Judgment in Crimilml Case
            Sheet 5 - Crimi.,  Monetary Penalties

                                                                                                           Jud~ent - Page _ _5__ of              5
 DEFENDANT: SEAN ~OBERT LIVINGSTON PECK (18)                                                        a
 CASE NUMBER: lOqU242 JM
                              I                                   RESTITUTION

The defendant shall pay!restitution in the amount of ___$_59_6_,_3_18_·04
                                                                      _ _ _ unto the United States of America.
                                I


          This sum shall belPaid _               immediately.
                                •           )C   as follows:                                                   .
                             iJ
           Pay restitution an am::to be determined by the govenunent, jointly and severally                wi~
                                                                                                      codefendant
           LAWLER, through the Clerk, U.S. District Court, forthwith or through the Inmate Financial! Responsibility Program at
           the rate of $25 p~r quarter during the period of incarceration, with the payment of any  i
           remaining balande to be made following the defendant's release from prison at a monthly p,yment of$250.00
           Distribution of r~stitution to the victims is to be on a pro rata basis.                  :

                                  I
           To HSBC Bank l.t1SA N.A. as
           Trustee for Registered Holders of Nomura Home Equity
           Loan, Inc., AssettBacked certificates, Series 2007-3
           in the amount of$ 341,484.74
           to be paid joint a*d several with Defendant Stephen Jonathan Lawler (17).
                                    I
           To HSBC Bank USA N.A.
           Restitution $222,211.18
                                    I
           To HSBC Bank liSA N.A.
           Note Holder: Ocwen Loan Servicing, as trustee for
           HSBC Bank usA! NA Series 2006-1
           Restitution $32, 122.12

            Total restitution $p96,3 I8.04

      The Court has determlned that the defendant               does not   have the ability to pay interest. It i~ ordered that:
                                        I
     )(       The interest reqyirement is waived.

              The interest is modified as follows:




                                                                                                          lOCRl141JM
                                                                                                                   I
